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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

GEORGE ANIBOWEI                                      §
                                                     §
                       Plaintiff                     § Civ. Act. No.: 3:16-CV-3495-D
                                                     §
v.                                                   §
                                                     §
                                                     §
                                                     §
JEFFERSON B. SESSIONS, et al.                        §
                                                     §
                       Defendants                    §
                                                     §



          UNOPPOSED MOTION FOR EXTENSION OF TIME TO
        FILE PLAINTIFF’S OBJECTIONS TO THE MAGISTRATE
         JUDGE’S SUPPLEMENTAL FINDINGS, CONCLUSIONS,
                       AND RECOMMENDATION
        __________________________________________________________________


        Plaintiff, through undersigned counsel, hereby requests an extension of time in which

to file Plaintiff’s Objections to the Magistrate Judge’s Supplemental Findings, Conclusions

and Recommendation.

        Plaintiff request that the time to file Plaintiff’s Objections to the Magistrate Judge’s

Supplemental Findings, Conclusions and Recommendation be extended to Wednesday,

November 7, 2018.

        This extension request is made necessary because Plaintiff’s Counsel, who is a solo

practitioner, has significant amount of work load on his desk, which makes it extremely

difficult for Counsel to complete Plaintiff’s Specific Written Objections before the current due

date.


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       In light of the above and in order to prepare detailed and comprehensive written

objections in this matter, Counsel seeks an extension in which to complete and submit the

Plaintiff’s Objections to the Magistrate Judge’s Supplemental Findings, Conclusions and

Recommendation.

       In the interest of justice and fairness, Counsel respectfully pray that this motion is

granted.

                                         PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff’s counsel respectfully requests

that this Honorable Court grants this Motion for Extension of Time to file the Plaintiff’s

Objections   to   the   Magistrate   Judge’s     Supplemental    Findings,   Conclusions   and

Recommendation.



                                               Respectfully submitted by:


                                               By: /S/George Anibowei
                                               George Anibowei
                                               Texas Bar No. 24036142
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                                               Dallas, Texas 75206
                                               Telephone No: (214) 800-3463
                                               Facsimile No: (214) 800-3464
                                               Email: ganibowei@gmail.com
                                               ATTORNEY FOR PLAINTIFF,
                                               GEORGE ANIBOWEI


Dated this 2nd day of November 2, 2018




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                      CERTIFICATE OF CONFERENCE

       This is to certify that on November 2, 2018, the undersigned plaintiff’s counsel has

conferred with the Defendants’ counsel, Ms. Sarah E. Delaney and Defendants’ counsel is not

opposed the Plaintiff’s Motion for Extension of Time to file Plaintiff’s Objections



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                                             George Anibowei
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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS

                          CERTIFICATE OF SERVICE (CM/ECF)

The undersigned hereby certifies that on November 2, 2018, I electronically filed the

foregoing document with the clerk of the court for the U.S. District Court, Northern District of

Texas, using the electronic case filing system of the court. I also certify that a copy of this

document was served on all parties via the Court’s electronic filing system.

                                             Respectfully submitted,



                                             By: /S/George Anibowei
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